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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)


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Counsel to the Official Committee of
Unsecured Creditors


In re:                                               Chapter 11

NATIONAL REALTY INVESTMENT                           Case No: 22-14539-JKS
ADVISORS, LLC, et al.1,
                                                     (Jointly Administered)
                         Debtors.


                  NOTICE OF SUBPOENAS FOR RULE 2004 EXAMINATIONS

          PLEASE TAKE NOTICE that, pursuant to Rules 2004 and 9016 of the Federal Rules

  of Bankruptcy Procedure, and D.N.J. LBR 2004-1 and 9016-1(a), the Official Committee of

  Unsecured Creditors (the “Committee”) appointed in the above-captioned chapter 11 cases (the

  “Chapter 11 Cases”), by and through its undersigned counsel, intend to serve the following

  Subpoenas, on September 23, 2022, or as soon thereafter as service may be effectuated, in the

  form attached hereto, on:




  1
   A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the
  Debtors’ claims and noticing agent at https://omniagentsolutions.com/NRIA. The location of the
  Debtors’ service address is: 1 Harmon Plaza, Floor 9, Secaucus, New Jersey 07094.
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                                 Name                             Exhibit
       44 Capital Management Corp.                                  A
       AJ Sales and Marketing, Inc.                                 B
       Amanda LaConte                                               C
       Arthur R. Scutaro (a/k/a Arthur R. Scuttaro)                 D
       Arthur Scutaro (a/k/a Arthur Scuttaro)                       E
       Bethany Salzano                                               F
       Bond Way Capital 915 LLC                                     G
       D. Coley O’Brien                                             H
       District Trust LLC                                            I
       Dustin Salzano                                                J
       Grande Classe Development LLC                                K
       H&L Marketing                                                L
       John M. Farina                                               M
       Kyle Stafirny                                                N
       Link N. Log LLC                                              O
       Metro Construction (“Metro”)                                  P
       Olen Budinska                                                Q
       Peter Salzano                                                R
       Premier Access Property Management                            S
       Referral Marketing Associates                                T
       Referral Marketing LLC                                       U
       Rey Grabato                                                  V
       RG Valencia LLC                                              W
       SAV Consulting, LLC                                          X
       Skyline Development                                          Y
       Stephen Scutaro (a/k/a Stephen Scuttaro)                     Z
       T3X Consulting LLC                                          AA
       Teterin Management LLC                                      AB
       Thomas Nicholas Salzano                                     AC
       U.S. Construction, Inc.                                     AD
       Vincent Scutaro (a/k/a Vincent Scuttaro)                     AE
       Web Marketing                                                AF
       Network Digital Office Systems, Inc.                        AG




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Dated: September 23, 2022                 ICE MILLER LLP


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